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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3148
                                        )
             V.                         )
                                        )
ANGEL M. KOSKI,                         )                   ORDER
                                        )
                   Defendant.           )
                                        )


      I have been made aware that Ms. Koski has breast cancer, underwent a
mastectomy, and is currently undergoing chemotherapy.

      After consultation with her supervising Probation Officer.

      IT IS ORDERED that:

      (1)    Ms. Koski’s supervised release is herewith terminated.

       (2) The Clerk of Court shall send a copy of this order to the defendant at her
last known address and to United States Probation Officer Michelle McNamara.

      DATED this 2nd day of December, 2015.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
